Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 1 of 13



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 19-80030-CR-Dimitrouleas

      UNITED STATES OF AMERICA

      vs.

      PHILLIP BRAUN, et al.,

                  Defendants.
      ______________________________________/

          GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION                                        TO
      COMPEL PRODUCTION OF IMPEACHMENT EVIDENCE, ECF NO. 385

             The United States, by and through undersigned counsel, hereby respectfully

      submits its opposition to Defendants’ Motion to Compel Production of Impeachment

      Evidence, with Incorporated Memorandum of Law, ECF No. 385 (“Defense Motion”).

      The defense request for an expert’s personnel records is a pure fishing expedition with no

      basis in fact. Moreover, it fails to explain why the records are the source of impeachment

      information or material. The Court should follow Eleventh Circuit precedent in rejecting

      requests for confidential personnel files based on mere speculation that they include Brady

      material. In any event, the prosecution has already produced any discoverable information

      in its possession.

                                          BACKGROUND

             The Defense Motion seeks to compel the production of documents relating to Dr.

      Paul Hayashi, who treated a victim identified as “C.H.” in the Indictment in 2015 – well

      prior to the investigation or this indictment. Count 4 charges the defendants with a

      conspiracy to distribute controlled substances, and includes the allegation that “serious

      bodily injury resulted to C.H. from the use of methyl-1-etiocholenolol” in a product


                                                  1
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 2 of 13



      distributed as a part of the defendants’ conspiracy. Indictment, ECF No. 1 at 19. C.H. was

      treated in 2015 by Dr. Hayashi when the doctor was employed as Medical Director of Liver

      Transplantation at the University of North Carolina, Chapel Hill.

              The government interviewed Dr. Hayashi about C.H. in January 2019. During

      discovery, the government provided notice that Dr. Hayashi will be called to give expert

      testimony about C.H.’s injury, diagnosis, and treatment. Dr. Hayashi is not being

      compensated for his expert opinion in this case, but the government will reimburse his

      travel expenses at trial (as it will with other government witnesses). The government also

      provided the defense with a summary of the doctor’s opinion and his expected expert

      testimony, as well as his Curriculum Vitae (“CV”) and approximately 1,000 pages of

      C.H.’s medical records that include and inform his opinion. 1 The government subsequently

      assisted defendants inquiring into whether there were any additional relevant medical

      records, including securing releases from C.H. for medical records from additional

      providers. As government counsel has indicated, the doctor’s expert opinion is informed

      by his treatment of C.H. in 2015, by the medical records that have already been produced

      to the defense, and by the doctor’s expertise as a hepatologist (liver specialist). In March

      2020, government counsel provided the defense with an updated CV for Dr. Hayashi,

      which noted that Dr. Hayashi had started a new position as a Medical Officer in the Office

      of New Drugs at the Food and Drug Administration (“FDA”) in February 2020.




      1
        On May 17, 2019, the government produced the University of North Carolina medical records
      concerning C.H. On September 27, 2019, the government disclosed a summary of Dr. Hayashi’s
      anticipated expert testimony along with his CV. Among other views that are described in the summary, Dr.
      Hayashi’s expert testimony is expected to include his opinion that C.H. suffered an acute, drug-induced
      (anabolic-steroid induced) liver injury, and that C.H.’s liver injury was severe and would have been graded
      as a level 4 (“severe”) on the 5-point scale used by the Drug-Induced Liver Injury Network (“DILIN”).


                                                           2
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 3 of 13



               The Defense Motion focuses on Dr. Hayashi’s new position at the FDA. The

      Defense Motion supposes that Dr. Hayashi’s expert testimony must be tainted by his new

      position with the FDA, the process through which he obtained it, or by his contacts with

      the FDA. See Defense Motion at 3-4, 5. The Defense Motion hypothesizes, without a single

      supporting fact, that the doctor’s role as a fact/expert witness in this case must have been

      discussed and must have influenced his hiring at the FDA. Id. at 3, 5-7. The Defense Motion

      also makes the incredible assumption that the FDA would have consulted C.H., a former

      patient, in the hiring of the doctor as a civil servant. Id. at 3, 5. Based on these meritless

      suppositions, the Defense Motion speculates that there must be material impeachment

      evidence to be found amidst various categories of emails and documents and other records.

      The Defense Motion insists that the Court compel government counsel to search for and

      then produce such records, along with other records related to this case and the doctor’s

      expertise. Id. at 9.

               Before the Defense Motion was filed, the government interviewed Dr. Hayashi on

      June 5, 2020. Information obtained from that interview was sent to the defense by letter on

      June 9, 2020 (before the filing of the Defense Motion), stating in relevant part:

           •   In connection with Dr. Hayashi’s application to the FDA and the entire hiring
               process, the topics of patient C.H., Dr. Hayashi’s potential testimony about
               C.H.’s liver injury, and Dr. Hayashi’s role as an expert witness in this case,
               never arose. Nor have these topics arisen since Dr. Hayashi began his position
               at the FDA (apart from perhaps logistical arrangements with his new employer
               regarding his trial testimony).

           •   Prior to applying for the job at the FDA, Dr. Hayashi did not apply for or receive
               grant money from the FDA. Prior to applying for the job at the FDA, Dr.
               Hayashi was acquainted with FDA scientists through professional organizations
               of which Dr. Hayashi was a member.

           •   Prior to applying for the job at the FDA, Dr. Hayashi did not consult for the FDA
               and did not work with FDA scientists/physicians on papers or articles.

                                                    3
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 4 of 13




           •   Dr. Hayashi has not communicated with C.H. about Dr. Hayashi’s application to
               the FDA, his desire to work for the FDA, the hiring process at the FDA, or his
               new position at the FDA.

           •   In 2018, Dr. Hayashi became aware of the FDA’s desire to hire hepatologists
               (physicians who have expertise in liver diseases). We understand the timeline to
               be approximately as follows: Dr. Hayashi submitted an application in December
               2018, was interviewed in the spring of 2019, and accepted the FDA’s offer in the
               summer of 2019. He left his position at UNC in January 2020 and began working
               with the FDA in February 2020 as a Medical Officer in the Office of New Drugs.
               He is a career civil servant.

      In short, “the government is aware of no evidence to suggest that Dr. Hayashi’s anticipated

      expert testimony about C.H.’s liver injury is influenced by his new position with the FDA,

      the process through which he was hired, or by his previous contacts with the FDA.” 2

                                            LEGAL STANDARDS

               However one may construe the government’s discovery obligations under Fed. R.

      Crim. Pr. 16, Brady, Giglio, and their progeny, those obligations certainly do not provide

      for open discovery or fishing expeditions. When seeking discovery under the “material to

      the preparation of the defendant’s defense” prong of Rule 16, a defendant must do more

      than generally describe what is sought or offer a conclusory argument about how the

      requested item is material to the defense. United States v. Jordan, 316 F.3d 1215, 1250

      (11th Cir. 2003). Under Rule 16, as the Eleventh Circuit has stated, the defendant must

      “‘show’ ‘more than that the [item] bears some abstract logical relationship to the issues in

      the case. . . . There must be some indication that the pretrial disclosure of the [item] would

      . . . enable[ ] the defendant significantly to alter the quantum of proof in his favor.’’’ Id. at



      2
        The June 5, 2020 interview of Dr. Hayashi was reduced to a memorandum of interview (“MOI”), which is
      being provided to defendants in discovery. Subsequent to the June 5, 2020 interview, the government
      learned that Dr. Hayashi did not provide copies of any reports or published articles in connection with his
      application to the FDA.


                                                          4
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 5 of 13



      1251 (citation omitted). Likewise, the Eleventh Circuit has recognized that with respect to

      Brady and its progeny:

             The defendant’s right to the disclosure of favorable evidence . . . does not “create a
             broad, constitutionally required right of discovery.” . . . Indeed, a “defendant’s right
             to discover exculpatory evidence does not include the unsupervised right to search
             through the [government’s] files,” . . . nor does the right require the prosecution to
             deliver its entire file to the defense. . . . Rather, Brady obligates the government to
             disclose only favorable evidence that is “material.” The “touchstone of materiality
             is a ‘reasonable probability” of a different result’. . . . Accordingly, under Brady,
             the government need only disclose during pretrial discovery (or later, at the trial)
             evidence which, in the eyes of a neutral and objective observer, could alter the
             outcome of the proceedings.

      Id. at 1251-52 (internal citations omitted).

             In light of these standards, the Eleventh Circuit has repeatedly rejected defense

      arguments for production of personnel files under Rule 16 or Brady/Giglio that were based

      on speculation or that amounted to “fishing expeditions.” In United States v. Quinn, 123

      F.3d 1415, 1422 (11th Cir. 1997), the Eleventh Circuit rejected a defendant’s argument for

      the production of a witness’s personnel file and noted that “mere speculation that a

      government file may contain Brady material” is not enough to require disclosure. Id.

      (quoting United States v. Andrus, 775 F.2d 825, 843 (7th Cir. 1985)). See also United States

      v. Pitt, 717 F.2d 1334 (11th Cir. 1983) (deeming a defendant’s unsubstantiated request to

      review a law enforcement agent’s personnel file “frivolous”); United States v. Meros, 866

      F.2d 1304, 1309 (11th Cir. 1989) (“A prosecutor has no duty to undertake a fishing

      expedition in other jurisdictions in an effort to find potentially impeaching evidence every

      time a criminal defendant makes a Brady request for information regarding a government

      witness.”); Jordan, 316 F.3d at 1249-57 (reversing dismissal of an indictment for alleged

      violations of government’s discovery and Brady obligations, and noting that the defense’s

      discovery requests went well beyond what the law required).

                                                     5
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 6 of 13



                                           ARGUMENT

              The Court should deny the defense request because it fails to support its claim for

      personnel records with actual facts, and because the government has already provided

      information refuting their impeachment theory. The defense argument for bias may be

      appropriate for cross-examination at trial, but has not identified any adequate grounds for

      discovery that exceeds Rule 16.

             I.       The Government is Aware of No Responsive Brady and Giglio
                      Information Related to the Defense Motion’s Specific Concerns, and
                      Remains Aware of its Continuing Discovery Obligations.

             Of course, the government remains aware of its ongoing Brady and Giglio

      obligations. The defense has raised specific concerns about bias concerning Dr. Hayashi’s

      employment with the FDA. After a timely inquiry, government counsel is unaware of any

      evidence to suggest that Dr. Hayashi’s anticipated expert testimony is influenced by his

      new position with the FDA, the hiring process, or by his contacts with the FDA. The

      government already provided answers to relevant questions posed to Dr. Hayashi. Should

      government counsel become aware of any discoverable information or records, they will

      be disclosed.

             II.      The Defense Motion for “Impeachment Evidence” is Based on
                      Speculation Already Refuted by Facts.

             The Defense Motion’s request for “impeachment” evidence concerning the

      doctor’s employment with the FDA is built on layers of speculation, which are unsupported

      by fact and contradicted by evidence. Based on the simple fact that Dr. Hayashi ⸺ a highly

      experienced physician who was the Medical Director of Liver Transplantation at a major

      hospital ⸺ now works for the FDA, the defense first supposes that the doctor’s testimony

      is somehow biased or tainted because of his new employment. See Defense Motion at 6.


                                                  6
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 7 of 13



      The defense next imagines that C.H. and the doctor’s testimony must have been a factor or

      otherwise discussed during the hiring process at the FDA. 3 Last, the defense conjectures

      that there must be evidence in support of their speculation to be found in emails,

      documents, and other records unrelated to the topic of the expert testimony: whether C.H.’s

      liver failure in 2015 was caused by defendants’ anabolic steroid product. Id. at 3. The

      defense would have the Court order government counsel to gather and produce confidential

      records not currently in possession of the prosecution team. Defense counsel would then

      pick through the documents, in search of “develop[ing] their strategy of cross-examining”

      Dr. Hayashi. Id. at 4. This kind of fishing expedition does not meet the standards set forth

      by Giglio or the Eleventh Circuit.

               As relevant here, the defense’s proposed fishing expedition involves the search for

      and production of records in the following categories:

          •    #1: When did the communications between FDA or any governmental agency and
               Dr. Hayashi begin with respect to possible employment? Who initiated these
               communications? Id. at 3.

          •    #2: Provide all salary/payment information concerning Dr. Hayashi’s employment,
               including any employment contract[s] or employment terms. Id.

          •    #5: Provide a copy of all contacts in every form whatsoever between Dr. Hayashi
               and the Federal Government concerning his possible employment with the FDA or
               any other Federal Government agency. Voice mails with the Government are now
               archived and should be included. This request also includes any solicitations,
               applications, and forms relating to employment with the Federal Government. Id.

          •    (Catch-all): Any other documents or information relating to the arguments made in
               the defense motion. Def. Proposed Ord., ECF No. 385-1.




      3
       Id. at 3 (“his anticipated testimony . . . would surely have been a subject of discussions”); at 5 (“[t]he
      documents would show why he made that career move . . . . [and] would shed light on whether the subject
      of his upcoming favorable testimony . . . was raised in the employment process.”).

                                                           7
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 8 of 13



      These questions are hardly adequate grounds for additional discovery. With these

      categories, the defense essentially seeks to compel the production of the doctor’s entire

      FDA personnel file, regardless of its actual relevance or confidential nature.

               In light of the discovery and Brady/Giglio standards in the Eleventh Circuit, this

      amounts to nothing more than a fishing expedition. See Quinn, 123 F.3d at 1422. The

      defense can point to no fact other than that Dr. Hayashi’s recent employment with the U.S.

      government, even though this is entirely consistent with Dr. Hayashi’s more than two

      decade career in public service working in the military and at public institutions. As such,

      the defense demands are insufficient on their face to warrant the relief sought. The defense

      speculation is also further undermined by Dr. Hayashi’s recent interview. The interview

      makes clear that Dr. Hayashi’s role as a witness in this case did not come up or play any

      role in the doctor’s acquisition of his new position at the FDA. Therefore, there is no basis

      to order government counsel to produce records under these categories so that the defense

      can troll through them in the hopes of finding something to use against a witness at trial. 4

               The same is true of two additional categories sought by the defense:

          •    #4: Did any other person involved in any way with C.H. provide information to the
               Federal Government in support of Dr. Hayashi’s employment?

          •    #6: Was C.H. consulted about the government employment status of Dr. Hayashi?
               If yes, provide all documentation thereof.


      4
        Furthermore, with respect to category #1 (timing of doctor’s employment), the government has already
      provided Dr. Hayashi’s explanation, and the corresponding MOI. As for category #2 (doctor’s salary and
      contract information), Dr. Hayashi is not and has never been a retained expert in this case who is paid for
      his testimony. The defense certainly remains free to try to impeach the doctor’s testimony with the fact that
      he now works for the FDA, but his salary as a federal employee is no more relevant to this trial than the
      salaries of any federal agents, federal chemists, or other law enforcement agents who might testify at trial.
      Cf. S.E.C. v. Nadel, No. CV 11-215(WFK)(AKT), 2012 WL 1268297, *2-5 (E.D.N.Y. April 16, 2012) (a
      civil case holding that the S.E.C. did not have to disclose the salary of an employee-expert and noting that
      the expert could be impeached by virtue of his full-time salaried position, and that defendants had not
      pointed to any specific circumstance raising suspicion that the particular compensation affected the
      employee-expert’s opinions).

                                                            8
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 9 of 13



      Defense Motion at 3. As communicated to the defense, Dr. Hayashi indicated that he has

      not communicated with C.H. about his new position at the FDA. These facts all severely

      undermine the speculative basis for defense requests, and there is no basis to compel the

      search for or production of additional information.

              The defendants cite United States. v. Lindstrom for the proposition that their Sixth

      Amendment rights hinge on the disclosure of Dr. Hayashi’s confidential personnel records.

      Defense Motion at 6. In Lindstrom, the Eleventh Circuit reversed a district court that denied

      defendants the ability to review psychiatric records and to present certain evidence on cross

      examination. 698 F.2d 1154, 1165 (11th Cir. 1983). Yet Lindstrom is dramatically different

      from the issue at hand for two key reasons. First, the Lindstrom court’s decision focused

      on the importance of mental health evidence in attacking witness credibility—a scenario

      unrelated to this case. Id. at 1166. Additionally, the Lindstrom defense had significant

      evidence that the records in question would contain key impeachment evidence, e.g.,

      legitimate and substantial grounds to request access to confidential information. 5 Id. at

      1161. Ultimately, Lindstrom says nothing about whether defendants are entitled to peruse

      private personnel records without a factual basis.




      5
        In Lindstrom, the defense had evidence that the “star” witness in question had been hospitalized
      for a suicide attempt, had attempted murder for hire, was involuntarily committed after a drug
      overdose, was charged with firing a shotgun through a purported lover’s house, was again
      involuntarily committed, and was diagnosed with “schizophrenic reaction,” a “history of
      hallucinations,” and was “suicidal – homicidal and delusional.” 698 F.2d at 1161. The trial court
      nonetheless refused to grant the defense access to psychiatric records or to introduce relevant
      records as evidence, and ultimately denied the jury “evidence necessary for it to make an informed
      determination of whether the witness' testimony was based on historical facts as she perceived them
      or whether it was the product of a psychotic hallucination.” Id. at 1167.

                                                      9
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 10 of 13



             III.    The Remaining Defense Requests Should Likewise Be Denied

             After layering speculation upon speculation about the doctor’s relationship with the

      FDA, the Defense Motion also seeks to compel the search for and production of records

      and information that exceed Rule 16’s requirements and have nothing to with the doctor’s

      new position at the FDA, which is their theoretical grounds for impeachment:

         •   #3: Provide all information, documents, and material that Dr. Hayashi has
             reviewed, drafted, prepared, or analyzed in connection with this case.

         •   #7: Provide copies of all documents Dr. Hayashi authored concerning the effects of
             body building substances on the liver. Provide copies of all articles or reports
             written by Dr. Hayashi with relevance to the substances in this case, including any
             documents he submitted to the Federal Government in connection with [his]
             employment. (This request was meant to include all articles [or] documents written
             by Dr. Hayashi in collaboration with the FDA at any time).

      Id. at 3. Fed. R. Crim. Pro. 16(G) requires that the government produce a summary of an

      expert witness’s testimony it intends to use in its case-in-chief, and that the summary

      “describe the witness’s opinions, the bases and reasons for those opinions, and the

      witness’s qualifications.” The government produced this information months ago: Dr.

      Hayashi’s anticipated testimony is based on his interactions with and treatment of C.H.,

      copies of University of North Carolina medical records that were provided to the defense

      in discovery, and his expertise as a liver specialist, as reflected in his extensive CV. The

      government has also provided a lengthy list of all of Dr. Hayashi’s academic publications.

      The defense is unsatisfied with a list of publicly-available publications that can be

      downloaded online or purchased, and now wants the government to provide copies that, in

      large part, the government counsel does not have in its possession. Rule 16 requires no

      such thing. The Defense Motion seeks more than is required without legal or factual basis,

      and the government has met its discovery obligations.



                                                  10
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 11 of 13



              Nevertheless, government counsel recently re-reviewed the University of North

      Carolina medical records produced in discovery because they are records that inform Dr.

      Hayashi’s anticipated testimony. The records include progress/encounter notes prepared

      by Dr. Hayashi in connection with C.H.’s treatment by the University of North Carolina.

      On page GOV-01882951 of Dr. Hayashi’s June 5, 2015 notes ⸺ produced to defense

      counsel on May 17, 2019 ⸺ Dr. Hayashi wrote that C.H.’s liver injury was most likely

      caused by an “androgenic steroid.” Later in the same notes. Dr. Hayashi wrote, “His

      [C.H.’s] creatinine level is elevated which we have seen, and is reported with

      androgen/muscle building agent heptatoxicity.” Dr. Hayashi’s notes then cite two

      published medical articles by other authors. These articles are publicly available to the

      defense, and they have had notice of them for more than twelve months. 6 Here, where the

      expert opinion was made and recorded nearly four years before the expert became aware

      of the criminal investigation, the expert was not compensated for his opinion, and the

      expert has refuted the suggestion that his hiring by FDA was related to his expert testimony,

      there is no basis for a fishing expedition into confidential personnel records.

                                               CONCLUSION

              The government remains aware of its ongoing Brady/Giglio obligations. The

      defense is free to cross-examine Dr. Hayashi about alleged bias that arises from his new

      position at the FDA and to do its own due diligence in reading publications listed on Dr.

      Hayashi’s CV ⸺ or the articles cited by Dr. Hayashi in medical notes associated with the



      6
        M. Robles-Diaz et al., Distinct Phenotype of Hepatotoxicity Associated With Illicit Use of Anabolic
      Androgenic Steroids, 41(1) Alimentary Pharmacology and Therapeutics, 116, 116-25 (2015)(available at
      https://doi.org/10.1111/apt.13023); Randy L. Luciano et al., Bile Acid Nephropathy in a Bodybuilder
      Abusing an Anabolic Androgenic Steroid, 64(3) American Journal of Kidney Diseases 473, 473-76 (2014)
      (available at https://doi.org/10.1053/j.ajkd.2014.05.010).

                                                       11
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 12 of 13



      care of C.H. However, the Defense Motion is based on layers of speculation that are

      undermined and contradicted by information provided by Dr. Hayashi and disclosed to the

      defense before they filed their motion. Therefore, the government respectfully requests that

      the Court deny the defendants’ motion to compel.

      Dated: July 2, 2020

                                                    Respectfully submitted,

                                                    ARIANA FAJARDO ORSHAN
                                                    UNITED STATES ATTORNEY

                                                    GUSTAV W. EYLER
                                                    DIRECTOR
                                                    U.S. DEPARTMENT OF JUSTICE
                                                    CONSUMER PROTECTION BRANCH


                                                            /s/ Alistair Reader
                                            By:     ALISTAIR F. A. READER
                                                    Court ID A5502377
                                                    STEPHEN J. GRIPKEY
                                                    Court ID A5502620
                                                    JOHN W. BURKE
                                                    Court ID No. A5501294
                                                    Trial Attorneys
                                                    U.S. Department of Justice
                                                    Consumer Protection Branch
                                                    450 Fifth Street, NW Suite 6400-South
                                                    Washington, DC 20001
                                                    Alistair.F.Reader@usdoj.gov
                                                    (202) 353-9930
                                                    Stephen.Gripkey@usdoj.gov
                                                    (202) 307-0048
                                                    Josh.Burke@usdoj.gov
                                                    (202) 353-2001
                                                    (202) 514-8742 (facsimile)




                                                  12
Case 9:19-cr-80030-WPD Document 386 Entered on FLSD Docket 07/02/2020 Page 13 of 13



                                   CERTIFICATE OF SERVICE

               I hereby certify that on July 2, 2020, I caused a copy of the foregoing document to
      be filed electronically with the Clerk of the Court by way of the CM/ECF system. Notice
      of this filing will be sent to all counsel of record by operation of CM/ECF system. Parties
      may access this filing through the CM/ECF system.


                                                                   /s/ Alistair Reader
                                                           Alistair F.A. Reader
                                                           Trial Attorney
                                                           U.S. Department of Justice




                                                  13
